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 4                               UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                Case No. 2:13-cr-00083-JCM-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   DERRICK PHELPS, et al.,                   )
                                               )
11                     Defendants.             )
     __________________________________________)
12
            This matter is before the Court on Defendants’ Derrick Phelps and Cynthia Phelps Motion
13
     for Joinder in Defendant Linda Mack’s Motion for Bill of Particulars (#65), filed January 27, 2014.
14
     The motion for joinder will be granted and Defendants arguments considered in conjunction with
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     the motion they join. Accordingly,
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            IT IS HEREBY ORDERED that Defendants’ Derrick Phelps and Cynthia Phelps Motion
17
     for Joinder in Defendant Linda Mack’s Motion for Bill of Particulars (#65) is granted.
18
            DATED: January 27, 2014.
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21                                               ______________________________________
                                                 C.W. Hoffman, Jr.
22                                               United States Magistrate Judge
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